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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY;
DEFENDERS OF WILDLIFE; ANIMAL LEGAL
DEFENSE FUND,

                              Plaintiffs,            Civil Action No. 19-CV-00408 (TNM)

       v.

DONALD J. TRUMP, in his official capacity as
President of the United States of America, et al.,

                              Defendants.


RIO GRANDE INTERNATIONAL STUDY
CENTER (RGISC), et al.,

                              Plaintiffs,            Civil Action No. 19-CV-00720 (TNM)

       v.

DONALD J. TRUMP, in his official capacity as
President of the United States of America, et al.,

                              Defendants.


UNITED STATES HOUSE OF
REPRESENTATIVES,

                              Plaintiff,             Civil Action No. 19-CV-00969 (TNM)

       v.

STEVEN T. MNUCHIN, in his official capacity as
Secretary of the Treasury, et al.,

                              Defendants.


  SUPPLEMENT TO NOTICE OF DECISION BY THE DEPARTMENT OF DEFENSE
  TO AUTHORIZE BORDER BARRIER PROJECTS PURSUANT TO 10 U.S.C. § 2808
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       On September 3, 2019, Defendants notified the Court and parties that the Secretary of

Defense had authorized eleven border barrier projects in California, Arizona, New Mexico, and

Texas pursuant to 10 U.S.C. § 2808. See ECF No. 37 in 19-CV-00408; ECF No 49 in 19-CV-

00720; ECF No. 67 in 19-CV-00969. To fund the projects, the Secretary of Defense authorized

the Department of the Army to expend up to $3.6 billion in unobligated military construction

funds. See id. The Secretary of Defense directed that, initially, only funds associated with

deferred military construction projects located outside of the United States will be provided to

the Department of the Army. See id. Deferred military construction projects outside of the

United States account for $1.8 billion of the required funds. See id. The remaining $1.8 billion

associated with deferred military construction projects located in the United States (including

U.S. territories) will be made available to the Secretary of the Army when it is needed for

obligation. See id. As a supplement to Defendants’ notice, the list of unobligated military

construction projects currently identified for deferral is attached as Exhibit 1.




Dated: September 5, 2019                       Respectfully submitted,

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                                               /s/ Andrew I. Warden
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                  EXHIBIT 1
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                                                  2808 Deferrals in United States Territories ($ in thousands)



State Country Title   Location Title                       Award Date             Line Item Title                                 Fiscal Year Enactment   Amount
GUAM                  Joint Region Marianas                December 2020          Earth Covered Magazines                                  2019             52,270
                                                           September 2020         PRTC Roads                                               2016              2,500
                                                           July 2020              Water Well Field                                         2018             56,088
                                                           June 2020              Navy-Commercial Tie-In Hardening                         2018             37,180
                                                           March 2020             Machine Gun Range                                        2019             50,000
                                                           February 2020          APR - Munitions Storage Igloos, Ph 2                     2017             35,300
                                                           February 2020          Hayman Munitions Storage Igloos MSA 2                    2019              9,800
                                                           January 2020           APR - SATCOM C4I Facility                                2017             14,200
PUERTO RICO           Arroyo                               January 2021           Readiness Center                                         2018             30,000
                      Camp Santiago                        March 2021             Company Headquarters Bldg -Transient Training            2018             47,000
                                                           March 2021             Dining Facility, Transient Training                      2018             13,000
                                                           September 2020         Engineering/Housing Maintenance Shops (DPW)              2018             11,000
                                                           September 2020         Maneuver Area Training Equipment Site                    2018             80,000
                                                           September 2020         National Guard Readiness Center                          2018             50,000
                                                           September 2020         Power Substation/Switching Station Building              2018             18,500
                      Gurabo                               January 2021           Vehicle Maintenance Shop                                 2018             28,000
                      Punta Borinquen                      December 2019          Ramey Unit School Replacement                            2018             61,071
                      San Juan                             January 2021           Aircraft Maintenance Hangar (AASF)                       2018             64,000
VIRGIN ISLANDS        St. Croix                            January 2021           Vehicle Maintenance Shop                                 2018             20,000
                                                           September 2020         Power Substation/Switching Station Building              2018              3,500
                      St. Thomas                           September 2020         National Guard Vehicle Maintenance Shop Add/A            2018              3,875
Grand Total                                                                                                                               42377            687,284



                                                    2808 Deferrals in the 50 United States ($ in thousands)


State Country Title              Location Title                  Award Date                           Line Item Title             Fiscal Year Enactment   Amount
ALABAMA               Anniston Army Depot                  March 2020             Weapon Maintenance Shop                                  2019               5,200
ALASKA                Eielson AFB                          February 2021          Repair Central Heat/Power Plant Boiler PH 4              2018              41,000
                                                           January 2020           Repair Central Heat & Power Plant Boiler Ph3             2016              34,400
                                                           January 2020           Eielson AFB Improved CATM Range                          2019              19,000
                      Fort Greely                          January 2021           Missile Field #1 Expansion                               2019               8,000
ARIZONA               Fort Huachuca                        May 2020               Ground Transport Equipment Building                      2018              30,000
CALIFORNIA            Channel Islands ANGS                 July 2020              Construct C-130J Flight Simulator Facility               2019               8,000
COLORADO              Peterson AFB                         September 2020         Space Control Facility                                   2018               8,000
FLORIDA               Tyndall AFB                          January 2020           Fire/Crash Rescue Station                                2018              17,000
HAWAII                Joint Base Pearl Harbor-Hickam       September 2020         Consolidated Training Facility                           2018               5,500
                      Kaneohe Bay                          May 2020               Security Improvements Mokapu Gate                        2018              26,492
INDIANA               Crane Army Ammunition Plant          March 2020             Railcar Holding Area                                     2019              16,000
                      Hulman Regional Airport              February 2020          Construct Small Arms Range                               2018               8,000
KENTUCKY              Fort Campbell, Kentucky              February 2020          Ft Campbell Middle School                                2019              62,634
LOUISIANA             Joint Reserve Base New Orleans       January 2020           NORTHCOM - Construct Alert Apron                         2019              15,000
                                                           January 2020           NORTHCOM - Construct Alert Facilities                    2019              24,000
MARYLAND              Fort Meade                           June 2020              Cantonment Area Roads                                    2019              16,500
                      Joint Base Andrews                   June 2020              PAR Relocate Haz Cargo Pad and EOD Range                 2019              37,000
                                                           January 2020           Child Development Center                                 2019              13,000
MISSISSIPPI           Jackson IAP                          August 2020            Construct Small Arms Range                               2018               8,000
NEW MEXICO            Holloman AFB                         March 2020             MQ-9 FTU Ops Facility                                    2019              85,000
                      White Sands                          February 2020          Information Systems Facility                             2019              40,000
NEW YORK              U.S. Military Academy                June 2020              Engineering Center                                       2019              95,000
                                                           June 2020              Parking Structure                                        2019              65,000
NORTH CAROLINA        Camp Lejeune, North Carolina         April 2020             2nd Radio BN Complex, Phase 2                            2019              25,650
                                                           January 2020           Ambulatory Care Center Addition/Alteration               2018              15,300
                      Fort Bragg                           Previously cancelled   Butner Elementary School Replacement                     2016              32,944
                      Seymour Johnson AFB                  April 2020             KC-46A ADAL for Alt Mission Storage                      2018               6,400
OKLAHOMA              Tulsa Iap                            May 2020               Construct Small Arms Range                               2018               8,000
OREGON                Klamath Falls IAP                    February 2020          Construct Indoor Range                                   2018               8,000
                                                           January 2020           Replace Fuel Facilities                                  2016               2,500
SOUTH CAROLINA        Beaufort                             April 2020             Laurel Bay Fire Station Replacement                      2019              10,750
TEXAS                 Fort Bliss                           January 2020           Defense Access Roads                                     2018              20,000
                      Joint Base San Antonio               February 2020          Camp Bullis Dining Facility                              2018              18,500
UTAH                  Hill AFB                             August 2020            Composite Aircraft Antenna Calibration Fac               2019              26,000
                                                           January 2020           UTTR Consolidated Mission Control Center                 2018              28,000
VIRGINIA              Joint Base Langley-Eustis            January 2020           Construct Cyber Ops Facility                             2019              10,000
                      Norfolk                              January 2020           Replace Hazardous Materials Warehouse                    2018              18,500
                      Pentagon                             Previously cancelled   Pentagon Metro Entrance Facility                         2017              12,111
                      Portsmouth                           January 2020           Replace Hazardous Materials Warehouse                    2018              22,500
                                                           January 2020           Ships Maintenance Facility                               2019              26,120
WASHINGTON            Bangor                               February 2021          Pier and Maintenance Facility                            2019              88,960
WISCONSIN             Truax Field                          March 2020             Construct Small Arms Range                               2018               8,000
Grand Total                                                                                                                               86788           1,075,961




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                                                   2808 Deferrals Outside of the United States ($ in thousands)


State Country Title                 Location Title                    Award Date                        Line Item Title            Fiscal Year Enactment    Amount
BAHRAIN ISLAND          SW Asia                                 February 2020      Fleet Maintenance Facility & TOC                         2019              26,340
BELGIUM                 Chievres AB                             September 2020     Europe West District Superintendent's Office             2019              14,305
BULGARIA                Nevo Selo Fos                           October 2020       EDI: Ammunition Holding Area                             2019               5,200
CUBA                    Guantanamo Bay                          February 2020      Working Dog Treatment Facility Replacement               2019               9,080
ESTONIA                 Unspecified Estonia                     December 2020      EDI: SOF Operations Facility                             2019               6,100
                                                                December 2020      EDI: SOF Training Facility                               2019               9,600
GERMANY                 Baumholder                              April 2021         SOF Joint Parachute Rigging Facility                     2019              11,504
                        East Camp Grafenwoehr                   January 2020       Mission Training Complex                                 2019              31,000
                        Panzer Kaserne                          June 2021          MARFOREUR HQ Modernization and Expansion                 2019              43,950
                        Ramstein AB                             September 2020     37 AS Squadron Operations/AMU                            2017              13,437
                                                                September 2020     EDI - KMC DABS-FEV/RH Storage Warehouses                 2019             119,000
                        Spangdahlem AB                          July 2020          F/A-22 Low Observable/Composite Repair Fac               2017              18,000
                                                                August 2021        EIC - Site Development and Infrastructure                2017              43,465
                                                                March 2020         Spangdahlem Elementary School Replacement                2018              79,141
                                                                March 2020         Upgrade Hardened Aircraft Shelters for F/A-22            2017               2,700
                        Stuttgart                               June 2022          Robinson Barracks Elem. School Replacement               2018              46,609
                        Weisbaden                               December 2022      Clay Kaserne Elementary School                           2019              56,048
                        Wiesbaden Army Airfield                 November 2019      Hazardous Material Storage Building                      2017               2,700
GREECE                  Souda Bay                               November 2019      EDI: Marathi Logistics Support Center                    2019               6,200
                                                                October 2019       EDI: Joint Mobility Processing Center                    2019              41,650
HUNGARY                 Kecskemet AB                            October 2020       ERI: Airfield Upgrades                                   2018              12,900
                                                                October 2020       ERI: Construct Parallel Taxiway                          2018              30,000
                                                                April 2020         ERI: Increase POL Storage Capacity                       2018              12,500
ITALY                   Sigonella                               August 2020        EDI: P-8A Taxiway and Apron Upgrades                     2019              66,050
JAPAN                   Camp Mctureous                          April 2020         Bechtel Elementary School                                2019              94,851
                        Iwakuni                                 March 2020         Fuel Pier                                                2019              33,200
                                                                January 2020       Construct Bulk Storage Tanks PH 1                        2018              30,800
                        Kadena AB                               June 2020          Truck Unload Facilities                                  2019              21,400
                                                                May 2020           SOF Maintenance Hangar                                   2018               3,972
                                                                May 2020           SOF Maintenance Hangar                                   2017              42,823
                                                                January 2020       APR - Replace Munitions Structures                       2017              19,815
                        Yokota AB                               February 2020      C-130J Corrosion Control Hangar                          2017              23,777
                                                                January 2020       Construct CATM Facility                                  2017               8,243
                                                                December 2019      Hangar/Aircraft Maintenance Unit                         2018              12,034
                                                                December 2019      Hangar/AMU                                               2017              39,466
                                                                December 2019      Operations and Warehouse Facilities                      2018               8,590
                                                                December 2019      Operations and Warehouse Facilities                      2017              26,710
                        Yokosuka                                March 2020         Kinnick High School Inc 1                                2019              40,000
KOREA                   Camp Tango                              December 2020      Command and Control Facility                             2019              17,500
                        Kunsan AB                               December 2019      Unmanned Aerial Vehicle Hangar                           2018              53,000
LUXEMBOURG              Sanem                                   April 2021         ERI: ECAOS Deployable Airbase System Storage             2018              67,400
NORWAY                  Rygge                                   November 2020      ERI: Replace/Expand Quick Reaction Alert Pad             2018              10,300
POLAND                  Poland                                  September 2020     EDI: Staging Areas                                       2019              34,000
                                                                September 2020     EDI: Staging Areas                                       2019              17,000
                                                                June 2020          EDI: Ammunition Storage Facility                         2019              52,000
                                                                April 2020         EDI: Rail Extension and Railhead                         2019               6,400
                        Powidz Air Base                         November 2020      EDI: Bulk Fuel Storage                                   2019              21,000
ROMANIA                 Mihail Kogalniceanu                     November 2019      EDI: Explosives & Ammo Load/Unload Apron                 2019              21,651
SLOVAKIA                Malacky                                 December 2020      EDI - Regional Munitions Storage Area                    2019              59,000
                                                                February 2020      ERI: Increase POL Storage Capacity                       2018              20,000
                                                                November 2019      ERI: Airfield Upgrades                                   2018               4,000
                        Sliac Airport                           November 2019      ERI: Airfield Upgrades                                   2018              22,000
SPAIN                   Rota                                    January 2020       EDI: Port Operations Facilities                          2019              21,590
TURKEY                  Incirlik AB                             August 2020        OCO: Relocate Base Main Access Control Point             2018              14,600
UNITED KINGDOM          Croughton RAF                           January 2020       Croughton Elem/Middle/High School Replacement            2017              71,424
                                                                October 2019       Main Gate Complex                                        2017              16,500
                        Menwith Hill Station                    February 2020      RAFMH Main Gate Rehabilitation                           2018              11,000
                        Royal Air Force Fairford                November 2019      EIC RC-135 Infrastructure                                2018               2,150
                                                                November 2019      EIC RC-135 Intel and Squad Ops Facility                  2018              38,000
                                                                November 2019      EIC RC-135 Runway Overrun Reconfiguration                2018               5,500
                        Raf Fairford                            September 2020     EDI - Munitions Holding Area                             2019              19,000
                                                                September 2020     EDI - Construct DABS-FEV Storage                         2019              87,000
WORLDWIDE CLASSIFIED    Classified Location                     January 2020       TACMOR - Utilities and Infrastructure Support            2019              18,000
WW unspecified          WW unspecified                          February 2021      Planning and Design                                      2018              13,580
Grand Total                                                                                                                                129169          1,836,755




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